Case 2:05-cr-20251-SH|\/| Document 32 Filed 07/20/05 Page 1 of 2 Page|D 36

 

           

 

 

 

FIL"#‘:":
IN THE UNITED STATES DISTRICT COURT I"" an D.C.
FOR THE WESTERN DISTRICT OF TENNESSE§S JUL 2
WESTERN DWISION 9 AH l |= 26
cLEH§;j"' ‘ [JC%U
UNITEI) sTATEs oF AMERIcA w t..- s _.»,i»;\_t.,;p;,”$ 97
V. 05-20251-04-Ma
W.C. WOOTEN _
ORDER ON ARRAIGNMENT
This cause came to be heard on 920/ 20 0 5 , the United States Attorney
for this district appeared on behalf of the vernnuent, and the defendant appeared in person and with

counsel:

NAME LJL“'\» €_/_é w a/\~;-/ who is Retained/Appointed.

The defendant, through counsel, waived formal arraignment and entered a plea of not guilty.

 

All motions Shall be filed Within thirty (30) days from the date hereof unless, for good cause
shown to a District Judge, such period is extended.

_Z he defendant, who is not in custody, may stand on his present bond.
The defendant, (not having made bond) (being a state prisoner) (being a federal prisoner)
(being held without bond pursuan' ffo BRH of 1984), is remanded to the custody of the U.S. Marshal.

s

. 6501/-
UNrrED sTATEs MAGISTRATE JUDGE

CHARGES: 18:1343 & 2;

U. S. Attorney assigned to Case: C. McMullen

Age: 5` 0

Thr`s dcct ment entered on the docket she in co llance
with R.ue 55 ana/ar azrm FHCrP on "'LQ§

: .| l x x F
UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 32 in
case 2:05-CR-20251 Was distributed by faX, mail, or direct printing on
July 22, 2005 to the parties listed.

 

 

Camille Reese Mcl\/lullen
U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

PDA

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

l\/lemphis7 TN 38103

April Rose Goode

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

l\/lemphis7 TN 38103

Honorable Sarnuel Mays
US DISTRICT COURT

